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                            ON,ft,a          S4RA-c         Di5.ric:V Coo&

                                      __Da         291 A it: La
                                      prj                        K

           V

                                                                          CA          NÕ:
k.4S .        rcAo     o-c     Ri(xiq                           ;30 - cV-            - a7i4         -     C

         Dt,Ce/Nra     I-


  '1-A0N3s1 b\e,        E.41.11i1            ks
  os
                             co,o(-A-
  iiv\ 100‘C-, U64-ric-k- c)-k-




            _Deor            va,3c.          hi=        ,

          fYiriN                       CZ _IN Ce IN             1---VW,       ck,S   INC+1 fq      NO 5011'


  a                i-ANe- (30 ccc,,u                 Vcdc..TA I       P6So N                      -4-he AFlave.,

 ckse          Nuro,e(-_
                       ,              01,4     April            )0a0                                      wRs


    Cakti-cA                 cei0
                                . (i\1              )
                                                    -\(\e
                                                        (e,               1_3/NC         Ct     ) Pr5



                       r Rsofl
                           -              &. F          1,np
                                                         ,   rek!IN             0\   Pr ivIrtOVA'46(1L)


                   N    Lk)           N            MN       e             t
    Case 2:20-cv-00274-ECM-WC Document 10 Filed 05/29/20 Page 2 of 4




             ckylv\s        W\Q               co CI                    m         INc.01Det-1.0c-s

 V-- o(              Co\AO               \L,Irki
                                               ) f)-\ ;MA-1-e5


 INI\oi\A-5otlt-FL-t                  06t,            )
                                                      --V\t,    New             Rö 2f.      Sp045"


         A    --ttc,_ pc3pc-c         (Ne\e,0,5 OC-05       Hll
                                                             rAcIN‘         )3cctV 4-h1<et\I


lit-e)       Pksw-c. ouc                                        irx41- _FccaloleNdM-t;,6)

             a-XeC                    f- c              -Pre 5 Fcr1/47(dk fLii)          0-"k" Ht\e%

              )s- +6 fmc.tkr,:t                                                 L_C AC
po-fpd-uNcom.               -1\(\c lar)
                                      9                 \r-1C        M 19(e S            V.(kt dlifficd+

         1\10 A- iMeOSS\8Pe                  Prj\icv        -1-‘16     fr co mix_ Nao

EAct--1 06crl            HAs      E          uNits          6+64                  cotu (-ALIA C1Ó imeN

   eSC                   Sqi)ce        skwc.c&                             1-14;lc        privd        Qicitvid

CuccG\P          AtO                         rvc, Lisc s prAti A-Ncl oiectc

                                             CONct CIO fl                        c k/C qpip                 ,


   A-cr              e                                vc Irv' di.)TS                 cktI At" AAL4 Scci(115

          pA taciti%c 5e rcG.d         Pt l'ouNd 441C (xloria ON                           )6L)0(;,?6 Vio

 __Nuk11\/      :)urc)         icti iv1P0c wc) )31                -ii4Ve Ai I-- &till 4-tSk            'fl; V I NS
    Case 2:20-cv-00274-ECM-WC Document 10 Filed 05/29/20 Page 3 of 4



                    mprSixe        Pifc     e)4C-4-1-vviSCA      VCr      moki3iK)/        Am

  TAN\NIY.                 -05c            ;W.'S              Pr pic cc--                  kj-kAJ e


    ectii_p_f_rve2_41_4-      k           HA*11iI5            4_5           be


                  Noiv,i_615        44A     _pro)) em                    cc s                   Vac


 loo mi\00-6 d\kocc                  -Cy     lotiA-ks         recie\ic5API N615                eift-sl<


)
-\\eSC            fts       A ct            Mad< (-AS `70                vcr-    S4N41 1      1.0)r.S-




 Alb vAiW3                                               doric       5 - a 7 -,=2c36        Nak;ve


  t--A;                                        Tp_sA- At-                 ujAS

 HvIk&or came ffom 4cre10)-\-\                                   e        urvicpc-    p         Htip




                                                              y`.„—ca vvt ti
                                                          3 - a-r)   -      a0
                                    Case 2:20-cv-00274-ECM-WC Document 10 Filed 05/29/20 Page 4 of 4




rSe5hick I            661 2.le
LiElcs",2       7LI
                                                                        "1.47x             tiO4 41

tv100+ 56 0,1 cr/14,1    ae CA                                                     t




Prt N CA           p
       wc-ki /1-(s- -Co rcc
i"\--'10N.H-(:)ciiAlcril Ili) 3(0
                                                                                 1.-\1* -34 \
                                                    Ph-tc-N4- c.,N        Mašz &MIL.' PI/Irks
                                                                     D)s-Vrick 43-c PILAspin9-


                                             36104-401901                          'Mini             111hi/11'14,4s   'in
